            Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 1 of 41. PageID #: 1




                            UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION
UNION HOME MORTGAGE CORP.,          )
                                    )
          Plaintiff,                )                       Case No: 1:25-cv-00318
                                    )
vs.                                 )
                                    )
MICHAEL BALLEW, ANDY (CARL)         )
BERRYMAN, ELIAS GONZALES,           )
PEDRO GONZALEZ, NICHOLAS LICHWICK, )
HONG (BOBBY) LUU, BLAIN ROSENBERRY, )
GEORGE TABORA, and ROBERT WEBB,     )
                                    )
          Defendants.               )


                COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

       Plaintiff Union Home Mortgage Corp. (“Union Home”), by counsel, and for its Complaint

for Injunctive Relief and Damages against Defendants Michael Ballew, Andy (Carl) Berryman,

Elias Gonzales, Pedro Gonzalez, Nicholas Lichwick, Hong (Bobby) Luu, Blain Rosenberry,

George Tabora, and Robert Webb, (collectively the “Defendants”), alleges and states as follows:

                                 NATURE OF THE ACTION

       1.      Union Home brings this action against the Defendants, its former employees, for

various breaches of their employment agreements with Union Home.

                                           PARTIES

       2.      Union Home is an Ohio corporation with its principal place of business in

Strongsville, Ohio.

       3.      Upon information and belief and at all relevant times, Matthew Ballew is a resident

of Daleville, Virginia.




                                          Page 1 of 41
            Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 2 of 41. PageID #: 2




       4.      Upon information and belief and at all relevant times, Andy (Carl) Berryman is a

resident of Spring Grove, Pennsylvania.

       5.      Upon information and belief and at all relevant times, Elias Gonzales is a resident

of Fairfax, Virginia.

       6.      Upon information and belief and at all relevant times, Pedro Gonzalez is a resident

of Fairfax, Virginia.

       7.      Upon information and belief and at all relevant times, Nicholas Lichwick is a

resident of Annandale, Virginia.

       8.      Upon information and belief and at all relevant times, Hong (Bobby) Luu is a

resident of Springfield, Virginia.

       9.      Upon information and belief and at all relevant times, Blain Rosenberry is a resident

of Chambersburg, Pennsylvania.

       10.     Upon information and belief and at all relevant times, George Tabora is a resident

of Centreville, Virginia.

       11.     Upon information and belief and at all relevant times, Robert Webb is a resident of

Kings Mountain, North Carolina.

                                 JURISDICTION AND VENUE

       12.     Jurisdiction is proper in federal court pursuant to 28 U.S.C. § 1332 because the

parties are citizens of different states and the amount in controversy – per Defendant – exceeds

$75,000, exclusive of interest and costs.

       13.     The Court also has supplemental jurisdiction over Union Home’s contractual and

state law claims pursuant to 28 U.S.C. § 1367.




                                                 2
           Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 3 of 41. PageID #: 3




        14.     Venue is proper in this district pursuant to 28 U.S.C. § 1391 because each

Defendant signed an employee agreement with Union Home in which the Defendants agreed to

personal jurisdiction in Ohio and that all disputes pertaining to their respective employee

agreements would be filed in state or federal courts in Ohio.

                                    FACTUAL BACKGROUND

Union Home’s Business

        15.     Paragraphs 1-14 are incorporated herein by reference as if fully restated herein.

        16.     Union Home is in the business of providing homeowners and prospective home

buyers with mortgage and refinance loan products.

        17.     Union Home invests significant time, effort, and resources into recruiting, training,

and retaining its staff, including its sales team, managers, and loan officers.

        18.     Union Home relies on its client base and realtor relationships for referrals. It is

expected that if a client or realtor is satisfied with its services, the client or realtor will refer other

potential clients to Union Home. Client and realtor referrals are a crucial source of business for

Union Home.

        19.     Union Home has, through substantial time, effort, and resources, developed

confidential, proprietary, and trade secret information relating to its provision of mortgage

services, including but not limited to, strategic plans for developing and marketing Union Home

products and services, strategic plans for recruitment, sales data, training materials, and customer

and referral source information. Union Home maintains this information solely for its business

purposes, and the information is not available to the public or competitors.

        20.     Union Home’s sales staff, including loan officers and branch managers, are the face

of the company. These employees cultivate much of the goodwill that Union Home has with its




                                                    3
            Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 4 of 41. PageID #: 4




clients and referral sources through use of Union Home’s resources and platforms. These

employees are an integral part of developing and maintaining Union Home’s goodwill and

relationships with its clients and referral sources, which is critical to the success of Union Home’s

business.

       21.     Union Home takes reasonable measures to keep its confidential, proprietary, and

trade secret information and out of its competitors’ hands. Union Home does so, for example, by

taking physical and electronic security measures and requiring employees to sign employee

agreements containing provisions, including certain restrictive covenants, intended to protect this

information.

       22.     Union Home has a legitimate business interest in protecting its confidential,

proprietary, and trade secret information, goodwill, customer relations, and referral sources.

Union Home employees depart en masse to work for competitor American Pacific.

       23.     On January 2, 2025, Union Home Regional Manager Craig Franczak resigned from

his Union Home employment.

       24.     Franczak now works for American Pacific Mortgage Corporation (“American

Pacific”), a direct competitor to Union Home, in a capacity the same as or similar to his work for

Union Home.

       25.     When Franczak left Union Home, he was bound not to directly or indirectly solicit

Union Home employees on behalf of himself or a competitor of Union Home for a period of two

years after his Union Home employment ended. (Exhibit K, Franczak Employee Agreement

12/3/2022 at 3, ¶ 8.)




                                                 4
            Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 5 of 41. PageID #: 5




       26.     At the time of his departure, Union Home sent to Franczak a letter reminding him

of the legal and contractual obligations he owed to Union Home, including the non-solicitation of

employees provision. (Exhibit L, Letter to C. Franczak.)

       27.     Despite Union Home’s reminder, as alleged more fully below, within a month after

Franczak’s departure from Union Home numerous employees who worked under him at Union

Home, including all but one of the Defendants, began to terminate their employment with Union

Home to join Franczak at American Pacific.

Michael Ballew

       A.      Michael Ballew’s employment and contractual obligations to Union Home.

       28.     Union Home hired Michael Ballew on or about February 15, 2022.

       29.     In conjunction with Ballew’s employment as a Loan Officer and Branch Manager,

he entered an employee agreement with Union Home on or about June 20, 2023 (the “Ballew

Agreement”). A true and accurate copy of the Ballew Agreement is attached as Exhibit A.

       30.     As a Loan Officer and Branch Manager, Ballew’s job duties included building a

referral network through marketing and self-sourcing business to generate and originate loans, as

well as managing a branch office, including the other loan officers assigned to it.

       31.     Ballew worked as part of a team led by former Union Home Regional Manager

Craig Franczak. (See Exhibit B, Organizational Chart.)

       32.     Ballew acquired confidential, proprietary, and trade secret information regarding,

among other things, Union Home’s customers, prospective customers, and referral sources, as well

as Union Home’s sales and marketing strategies, lending practices, and risk tolerances.

       33.     Ballew was a trusted employee of Union Home, who was given access to the

goodwill Union Home has developed with its customers, prospective customers, and referral




                                                 5
            Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 6 of 41. PageID #: 6




sources, as well as Union Home’s confidential and trade secret information, including confidential

information about Union Home’s customers, prospective customers, and referral sources.

        34.        As a Branch Manager, Ballew also had access to confidential information regarding

the other loan officers in his branch and the customers and prospects they were serving or pursuing

and the referral sources upon which they relied.

        35.        In the Ballew Agreement, Ballew acknowledged that:




(Ex. A at 1, ¶ 2.).

        36.        With respect to confidential information, Ballew agreed as follows:




(Id. at 2, ¶ 6.)

        37.        Ballew agreed to the following limited non-competition provision:




                                                   6
             Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 7 of 41. PageID #: 7




(Id. at 1, ¶ 3.)

        38.        The Ballew Agreement also provides that if Ballew violates any of the restrictive

covenants in the agreement, the term of all covenants is automatically extended for a period of one

year after either (a) Ballew ceases the violation or (b) a court order is entered enforcing the

covenant. (Id. at 2, ¶ 8.)

        39.        The Ballew Agreement is a valid and enforceable contract between Union Home

and Ballew.

        40.        Union Home performed its material obligations under the Ballew Agreement.

        41.        Ballew owed and continues to owe legal and contractual obligations to Union Home

pursuant to the Ballew Agreement.

        B.         Michael Ballew voluntarily resigns from Union Home to join their former
                   Regional Manager at a Direct Competitor.

        42.        Ballew voluntarily resigned from his employment with Union Home on January

31, 2025.

        43.        Ballew now works for American Pacific, a direct competitor to Union Home and

Craig Franczak’s current employer.

        44.        On information and belief, Ballew is working for American Pacific in the same or

similar capacity and in the same geographic area that he worked for Union Home, in violation of

the Ballew Agreement’s limited non-compete provision. This breach has and will continue to

cause harm to Union Home’s legitimate business interests, including its goodwill and confidential

information, in an amount in excess of $75,000.

        45.        Paragraph 13 of the Ballew Agreement that Ballew voluntarily entered into

provides that Ballew would be responsible for Union Home’s reasonable attorneys’ fees incurred

in conjunction with a successful suit to enforce the Ballew Agreement. (Id. at 2, ¶ 13.)



                                                   7
            Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 8 of 41. PageID #: 8




       46.     Union Home has been required to retain the services of its undersigned counsel for

the purposes of protecting its interests under the Ballew Agreement and has incurred and will

continue to incur attorney fees in an amount yet to be determined as a result of Ballew’s breach of

the Ballew Agreement’s limited non-compete provision.

Carl Berryman

       A.      Andy (Carl) Berryman’s employment and contractual obligations to Union
               Home.

       47.     Union Home hired Carl Berryman on or about October 29, 2021.

       48.     In conjunction with Berryman’s employment as an Area Sales Manager, he entered

an employee agreement with Union Home on or about October 14, 2024 (the “Berryman

Agreement”). A true and accurate copy of the Berryman Agreement is attached as Exhibit C.

       49.     As an Area Sales Manager, Berryman’s job duties included building a referral

network through marketing and self-sourcing business to generate and originate loans, as well as

managing a territory (i.e., “area”), including the other loan officers assigned to it. In addition,

Berryman was responsible for recruiting, training, and directing the retail sales team to achieve

growth and production goals while operating within Union Home’s specific policies and

procedures.

       50.     Berryman worked as part of a team led by former Union Home Regional Manager

Craig Franczak. (See Exhibit B, Organizational Chart.)

       51.     Berryman acquired confidential, proprietary, and trade secret information

regarding, among other things, Union Home’s customers, prospective customers, and referral

sources, as well as Union Home’s sales and marketing strategies, lending practices, and risk

tolerances.




                                                8
            Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 9 of 41. PageID #: 9




        52.        Berryman was a trusted employee of Union Home, who was given access to the

goodwill Union Home has developed with its customers, prospective customers, and referral

sources, as well as Union Home’s confidential and trade secret information, including confidential

information about Union Home’s customers, prospective customers, and referral sources.

        53.        As an Area Sales Manager, Berryman also had access to confidential information

regarding the other loan officers in his area and the customers and prospects they were serving or

pursuing and the referral sources upon which they relied.

        54.        In the Berryman Agreement, Berryman acknowledged that:




(Ex. C at 1, ¶ 2.).

        55.        With respect to confidential information, Berryman agreed as follows:




(Id. at 2, ¶ 8.)

        56.        Berryman agreed to the following limited non-competition provision:




                                                   9
          Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 10 of 41. PageID #: 10




(Id. at 1, ¶ 3.)

        57.        The Berryman Agreement also provides that if Berryman violates any of the

restrictive covenants in the agreement, the term of all covenants is automatically extended for a

period of one year after either (a) Berryman ceases the violation or (b) a court order is entered

enforcing the covenant. (Id. at 2, ¶ 10.)

        58.        The Berryman Agreement is a valid and enforceable contract between Union Home

and Berryman.

        59.        Union Home performed its material obligations under the Berryman Agreement.

        60.        Berryman owed and continues to owe legal and contractual obligations to Union

Home pursuant to the Berryman Agreement.

        B.         Carl Berryman voluntarily resigns from Union Home to join their former
                   Regional Manager at a Direct Competitor.

        61.        Berryman voluntarily resigned from his employment with Union Home on January

31, 2025.

        62.        Berryman now works for American Pacific, a direct competitor to Union Home and

Craig Franczak’s current employer.

        63.        On information and belief, Berryman is working for American Pacific in the same

or similar capacity and in the same geographic area that he worked for Union Home, in violation

of the Berryman Agreement’s limited non-compete provision. This breach has and will continue


                                                  10
         Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 11 of 41. PageID #: 11




to cause harm to Union Home’s legitimate business interests, including its goodwill and

confidential information, in an amount in excess of $75,000.

       64.     Paragraph 15 of the Berryman Agreement that Berryman voluntarily entered into

provides that Berryman would be responsible for Union Home’s reasonable attorneys’ fees

incurred in conjunction with a successful suit to enforce the Berryman Agreement. (Id. at 3, ¶ 15.)

       65.     Union Home has been required to retain the services of its undersigned counsel for

the purposes of protecting its interests under the Berryman Agreement and has incurred and will

continue to incur attorney fees in an amount yet to be determined as a result of Berryman’s breach

of the Berryman Agreement’s limited non-compete provision.

Elias Gonzales

       A.      Elias Gonzales’s employment and contractual obligations to Union Home.

       66.     Union Home hired Elias Gonzales on or about July 29, 2022.

       67.     In conjunction with Gonzales’s employment as a Branch Manager, he entered an

employee agreement with Union Home on or about July 1, 2024 (the “Gonzales Agreement”). A

true and accurate copy of the Gonzales Agreement is attached as Exhibit D.

       68.     As a Branch Manager, Gonzales’s job duties included building a referral network

through marketing and self-sourcing business to generate and originate loans. In addition,

Gonzales was responsible for hiring, training, and directing the retail sales team to achieve growth

and production goals while operating within Union Home’s specific policies and procedures.

       69.     Gonzales worked as part of a team led by former Union Home Regional Manager

Craig Franczak. (See Exhibit B, Organizational Chart.)




                                                11
          Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 12 of 41. PageID #: 12




        70.        Gonzales acquired confidential, proprietary, and trade secret information regarding,

among other things, Union Home’s customers, prospective customers, and referral sources, as well

as Union Home’s sales and marketing strategies, lending practices, and risk tolerances.

        71.        Gonzales was a trusted employee of Union Home, who was given access to the

goodwill Union Home has developed with its customers, prospective customers, and referral

sources, as well as Union Home’s confidential and trade secret information, including confidential

information about Union Home’s customers, prospective customers, and referral sources.

        72.        As a Branch Manager, Gonzales also had access to confidential information

regarding the other loan officers in his branch and the customers and prospects they were serving

or pursuing and the referral sources upon which they relied.

        73.        In the Gonzales Agreement, Gonzales acknowledged that:




(Ex. D at 1, ¶ 2.).

        74.        With respect to confidential information, Gonzales agreed as follows:




(Id. at 1, ¶ 6.)




                                                    12
          Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 13 of 41. PageID #: 13




        75.        Gonzales agreed to the following limited non-competition provision:




(Id. at 1, ¶ 3.)

        76.        The Gonzales Agreement also provides that if Gonzales violates any of the

restrictive covenants in the agreement, the term of all covenants is automatically extended for a

period of one year after either (a) Gonzales ceases the violation or (b) a court order is entered

enforcing the covenant. (Id. at 2, ¶ 8.)

        77.        The Gonzales Agreement is a valid and enforceable contract between Union Home

and Gonzales.

        78.        Union Home performed its material obligations under the Gonzales Agreement.

        79.        Gonzales owed and continues to owe legal and contractual obligations to Union

Home pursuant to the Gonzales Agreement.

        B.         Elias Gonzales voluntarily resigns from Union Home to join their former
                   Regional Manager at a Direct Competitor.

        80.        Gonzales voluntarily resigned from his employment with Union Home on January

31, 2025.

        81.        Gonzales now works for American Pacific, a direct competitor to Union Home and

Craig Franczak’s current employer.

        82.        On information and belief, Gonzales is working for American Pacific in the same

or similar capacity and in the same geographic area that he worked for Union Home, in violation

of the Gonzales Agreement’s limited non-compete provision. This breach has and will continue



                                                  13
         Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 14 of 41. PageID #: 14




to cause harm to Union Home’s legitimate business interests, including its goodwill and

confidential information, in an amount in excess of $75,000.

       83.     Paragraph 13 of the Gonzales Agreement that Gonzales voluntarily entered into

provides that Gonzales would be responsible for Union Home’s reasonable attorneys’ fees incurred

in conjunction with a successful suit to enforce the Gonzales Agreement. (Id. at 2, ¶ 13.)

       84.     Union Home has been required to retain the services of its undersigned counsel for

the purposes of protecting its interests under the Gonzales Agreement and has incurred and will

continue to incur attorney fees in an amount yet to be determined as a result of Gonzales’s breach

of the Gonzales Agreement’s limited non-compete provision.

Pedro Gonzalez

       A.      Pedro Gonzalez’s employment and contractual obligations to Union Home.

       85.     Union Home hired Pedro Gonzalez on or about August 31, 2022.

       86.     In conjunction with Gonzalez’s employment as a Branch Banager, he entered an

employee agreement with Union Home on or about July 1, 2024 (the “Gonzalez Agreement”). A

true and accurate copy of the Gonzalez Agreement is attached as Exhibit E.

       87.     As a Branch Manager, Gonzalez’s job duties included building a referral network

through marketing and self-sourcing business to generate and originate loans. In addition,

Gonzalez was responsible for hiring, training, and directing the retail sales team to achieve growth

and production goals while operating within Union Home’s specific policies and procedures.

       88.     Gonzalez worked as F led by former Union Home Regional Manager Craig

Franczak. (See Exhibit B, Organizational Chart.)

       89.     Gonzalez acquired confidential, proprietary, and trade secret information

regarding, among other things, Union Home’s customers, prospective customers, and referral




                                                14
          Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 15 of 41. PageID #: 15




sources, as well as Union Home’s sales and marketing strategies, lending practices, and risk

tolerances.

        90.        Gonzalez was a trusted employee of Union Home, who was given access to the

goodwill Union Home has developed with its customers, prospective customers, and referral

sources, as well as Union Home’s confidential and trade secret information, including confidential

information about Union Home’s customers, prospective customers, and referral sources.

        91.        As a Branch Manager, Gonzalez also had access to confidential information

regarding the other loan officers in his branch and the customers and prospects they were serving

or pursuing and the referral sources upon which they relied.

        92.        In the Gonzalez Agreement, Gonzalez acknowledged that:




(Ex. E at 1, ¶ 2.).

        93.        With respect to confidential information, Gonzalez agreed as follows:




(Id. at 1, ¶ 6.)

        94.        Gonzalez agreed to the following limited non-competition provision:




                                                   15
          Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 16 of 41. PageID #: 16




(Id. at 1, ¶ 3.)

        95.        The Gonzalez Agreement also provides that if Gonzalez violates any of the

restrictive covenants in the agreement, the term of all covenants is automatically extended for a

period of one year after either (a) Gonzalez ceases the violation or (b) a court order is entered

enforcing the covenant. (Id. at 2, ¶ 8.)

        96.        The Gonzalez Agreement is a valid and enforceable contract between Union Home

and Gonzalez.

        97.        Union Home performed its material obligations under the Gonzalez Agreement.

        98.        Gonzalez owed and continues to owe legal and contractual obligations to Union

Home pursuant to the Gonzalez Agreement.

        B.         Pedro Gonzalez voluntarily resigns from Union Home to join their former
                   Regional Manager at a Direct Competitor.

        99.        Gonzalez voluntarily resigned from his employment with Union Home on January

31, 2025.

        100.       Gonzalez now works for American Pacific, a direct competitor to Union Home and

Craig Franczak’s current employer.

        101.       On information and belief, Gonzalez is working for American Pacific in the same

or similar capacity and in the same geographic area that he worked for Union Home, in violation

of the Gonzalez Agreement’s limited non-compete provision. This breach has and will continue




                                                  16
         Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 17 of 41. PageID #: 17




to cause harm to Union Home’s legitimate business interests, including its goodwill and

confidential information, in an amount in excess of $75,000.

       102.    Paragraph 13 of the Gonzalez Agreement that Gonzalez voluntarily entered into

provides that Gonzalez would be responsible for Union Home’s reasonable attorneys’ fees

incurred in conjunction with a successful suit to enforce the Gonzalez Agreement. (Id. at 2, ¶ 13.)

       103.    Union Home has been required to retain the services of its undersigned counsel for

the purposes of protecting its interests under the Gonzalez Agreement and has incurred and will

continue to incur attorney fees in an amount yet to be determined as a result of Gonzalez’s breach

of the Gonzalez Agreement’s limited non-compete provision.

Nicholas Lichwick

       A.      Nicholas Lichwick’s employment and contractual obligations to Union Home.

       104.    Union Home hired Nicholas Lichwick on or about October 15, 2018.

       105.    In conjunction with Lichwick’s employment as an Area Sales Manager, he entered

an employee agreement with Union Home on or about May 31, 2023 (the “Lichwick Agreement”).

A true and accurate copy of the Lichwick Agreement is attached as Exhibit F.

       106.    As an Area Sales Manager, Lichwick’s job duties included building a referral

network through marketing and self-sourcing business to generate and originate loans, as well as

managing a territory (i.e., “area”), including the other loan officers assigned to it. In addition,

Lichwick was responsible for recruiting, training, and directing the retail sales team to achieve

growth and production goals while operating within Union Home’s specific policies and

procedures.

       107.    Lichwick worked as part of a team led by former Union Home Regional Manager

Craig Franczak. (See Exhibit B, Organizational Chart.)




                                                17
          Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 18 of 41. PageID #: 18




        108.    Lichwick acquired confidential, proprietary, and trade secret information

regarding, among other things, Union Home’s customers, prospective customers, and referral

sources, as well as Union Home’s sales and marketing strategies, lending practices, and risk

tolerances.

        109.    Lichwick was a trusted employee of Union Home, who was given access to the

goodwill Union Home has developed with its customers, prospective customers, and referral

sources, as well as Union Home’s confidential and trade secret information, including confidential

information about Union Home’s customers, prospective customers, and referral sources.

        110.    As an Area Sales Manager, Lichwick also had access to confidential information

regarding the other loan officers in his area and the customers and prospects they were serving or

pursuing and the referral sources upon which they relied.

        111.    In the Lichwick Agreement, Lichwick acknowledged that:




(Ex. F at 2, ¶ 2.).

        112.    With respect to confidential information, Lichwick agreed as follows:




                                                18
          Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 19 of 41. PageID #: 19




(Id. at 2, ¶ 6.)

        113.       Lichwick agreed to the following limited non-competition provision:




(Id. at 2, ¶ 3.)

        114.       The Lichwick Agreement also provides that if Lichwick violates any of the

restrictive covenants in the agreement, the term of all covenants is automatically extended for a

period of one year after either (a) Lichwick ceases the violation or (b) a court order is entered

enforcing the covenant. (Id. at 3, ¶ 8.)

        115.       The Lichwick Agreement is a valid and enforceable contract between Union Home

and Lichwick.

        116.       Union Home performed its material obligations under the Lichwick Agreement.

        117.       Lichwick owed and continues to owe legal and contractual obligations to Union

Home pursuant to the Lichwick Agreement.

        B.         Nicholas Lichwick voluntarily resigns from Union Home to join their former
                   Regional Manager at a Direct Competitor.

        118.       Lichwick voluntarily resigned from his employment with Union Home on

February 1, 2025.

        119.       Lichwick now works for American Pacific, a direct competitor to Union Home and

Craig Franczak’s current employer.




                                                  19
         Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 20 of 41. PageID #: 20




       120.    On information and belief, Lichwick is working for American Pacific in the same

or similar capacity and in the same geographic area that he worked for Union Home, in violation

of the Lichwick Agreement’s limited non-compete provision. This breach has and will continue

to cause harm to Union Home’s legitimate business interests, including its goodwill and

confidential information, in an amount in excess of $75,000.

       121.    Paragraph 13 of the Lichwick Agreement that Lichwick voluntarily entered into

provides that Lichwick would be responsible for Union Home’s reasonable attorneys’ fees

incurred in conjunction with a successful suit to enforce the Lichwick Agreement. (Id. at 4, ¶ 13.)

       122.    Union Home has been required to retain the services of its undersigned counsel for

the purposes of protecting its interests under the Lichwick Agreement and has incurred and will

continue to incur attorney fees in an amount yet to be determined as a result of Lichwick’s breach

of the Lichwick Agreement’s limited non-compete provision.

Hong (Bobby) Luu

       A.      Bobby Luu’s employment and contractual obligations to Union Home.

       123.    Union Home hired Bobby Luu on or about October 15, 2018.

       124.    In conjunction with Luu’s employment as a Team Lead, he entered an employee

agreement with Union Home on or about December 2, 2024 (the “Luu Agreement”). A true and

accurate copy of the Luu Agreement is attached as Exhibit G.

       125.    As a Team Lead, Luu’s job duties included building a referral network through

marketing and self-sourcing business to generate and originate loans. In addition, Luu was

responsible for hiring, training, and directing the retail sales team to achieve growth and production

goals while operating within Union Home’s specific policies and procedures.




                                                 20
         Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 21 of 41. PageID #: 21




        126.    Luu worked as part of a team led by former Union Home Regional Manager Craig

Franczak. (See Exhibit B, Organizational Chart.)

        127.    Luu acquired confidential, proprietary, and trade secret information regarding,

among other things, Union Home’s customers, prospective customers, and referral sources, as well

as Union Home’s sales and marketing strategies, lending practices, and risk tolerances.

        128.    Luu was a trusted employee of Union Home, who was given access to the goodwill

Union Home has developed with its customers, prospective customers, and referral sources, as

well as Union Home’s confidential and trade secret information, including confidential

information about Union Home’s customers, prospective customers, and referral sources.

        129.    As a Team Lead, Luu also had access to confidential information regarding the

other loan officers in his branch and the customers and prospects they were serving or pursuing

and the referral sources upon which they relied.

        130.    In the Luu Agreement, Luu acknowledged that:




(Ex. G at 2, ¶ 2.).

        131.    With respect to confidential information, Luu agreed as follows:




                                                21
          Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 22 of 41. PageID #: 22




(Id. at 3, ¶ 9.)

        132.        Luu agreed to the following limited non-competition provision:




(Id. at 3, ¶ 6.)

        133.        The Luu Agreement also provides that if Luu violates any of the restrictive

covenants in the agreement, the term of all covenants is automatically extended for a period of one

year after either (a) Luu ceases the violation or (b) a court order is entered enforcing the covenant.

(Id. at 3, ¶ 11.)

        134.        When Luu executed the Luu Agreement, he accepted a one-time conditional

signing bonus, which totaled $60,000 (the “Luu Bonus”). The Bonus was conditional in the sense

that if Luu did not remain employed with Union Home for two years after December 2, 2024, he

would be required to repay the entire Luu Bonus. (Id. at 2, ¶ 4.)

        135.        The Luu Agreement is a valid and enforceable contract between Union Home and

Luu.



                                                   22
         Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 23 of 41. PageID #: 23




        136.   Union Home performed its material obligations under the Luu Agreement.

        137.   Luu owed and continues to owe legal and contractual obligations to Union Home

pursuant to the Luu Agreement.

        B.     Bobby Luu voluntarily resigns from Union Home to join their former Regional
               Manager at a Direct Competitor.

        138.   Luu voluntarily resigned from his employment with Union Home on February 3,

2025.

        139.   Luu resigned from Union Home prior to December 2, 2026.

        140.   Luu did not repay the portion of the Luu Bonus due to Union Home.

        141.   Luu now works for American Pacific, a direct competitor to Union Home and Craig

Franczak’s current employer.

        142.   On information and belief, Luu is working for American Pacific in the same or

similar capacity and in the same geographic area that he worked for Union Home, in violation of

the Luu Agreement’s limited non-compete provision. This breach has and will continue to cause

harm to Union Home’s legitimate business interests, including its goodwill and confidential

information, in an amount in excess of $75,000.

        143.   Paragraph 16 of the Luu Agreement that Luu voluntarily entered into provides that

Luu would be responsible for Union Home’s reasonable attorneys’ fees incurred in conjunction

with a successful suit to enforce the Luu Agreement. (Id. at 4, ¶ 16.)

        144.   Union Home has been required to retain the services of its undersigned counsel for

the purposes of protecting its interests under the Luu Agreement and has incurred and will continue

to incur attorney fees in an amount yet to be determined as a result of Luu’s breach of the Luu

Agreement’s limited non-compete provision and failure to properly repay the Luu Bonus.

Blain Rosenberry



                                                23
         Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 24 of 41. PageID #: 24




       A.      Blain Rosenberry’s employment and contractual obligations to Union Home.

       145.    Union Home hired Blain Rosenberry on or about August 22, 2016.

       146.    In conjunction with Rosenberry’s employment as a Branch Manager, he entered an

employee agreement with Union Home on or about October 1, 2024 (the “Rosenberry

Agreement”). A true and accurate copy of the Rosenberry Agreement is attached as Exhibit H.

       147.    As a Branch Manager, Rosenberry’s job duties included building a referral network

through marketing and self-sourcing business to generate and originate loans. In addition,

Rosenberry was responsible for hiring, training, and directing the retail sales team to achieve

growth and production goals while operating within Union Home’s specific policies and

procedures.

       148.    Rosenberry worked as part of a team led by former Union Home Regional Manager

Craig Franczak. (See Exhibit B, Organizational Chart.)

       149.    Rosenberry acquired confidential, proprietary, and trade secret information

regarding, among other things, Union Home’s customers, prospective customers, and referral

sources, as well as Union Home’s sales and marketing strategies, lending practices, and risk

tolerances.

       150.    Rosenberry was a trusted employee of Union Home, who was given access to the

goodwill Union Home has developed with its customers, prospective customers, and referral

sources, as well as Union Home’s confidential and trade secret information, including confidential

information about Union Home’s customers, prospective customers, and referral sources.

       151.    As a Branch Manager, Rosenberry also had access to confidential information

regarding the other loan officers in his branch and the customers and prospects they were serving

or pursuing and the referral sources upon which they relied.




                                               24
          Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 25 of 41. PageID #: 25




        152.       In the Rosenberry Agreement, Rosenberry acknowledged that:




(Ex. H at 2, ¶ 2.).

        153.       With respect to confidential information, Rosenberry agreed as follows:




(Id. at 3, ¶ 9.)

        154.       Rosenberry agreed to the following limited non-competition provision:




(Id. at 3, ¶ 6.)

        155.       The Rosenberry Agreement also provides that if Rosenberry violates any of the

restrictive covenants in the agreement, the term of all covenants is automatically extended for a




                                                   25
          Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 26 of 41. PageID #: 26




period of one year after either (a) Rosenberry ceases the violation or (b) a court order is entered

enforcing the covenant. (Id. at 3, ¶ 11.)

        156.       When Rosenberry executed the Rosenberry Agreement, he accepted a one-time

conditional signing bonus, which totaled $35,000 (the “Rosenberry Bonus”). (Id. at 2, ¶ 3.) The

Bonus was conditional in the sense that if Rosenberry did not remain employed with Union Home

for two years after October 1, 2024, he would be required to repay the entire Rosenberry Bonus.

(Id. at 2, ¶ 4.)

        157.       The Rosenberry Agreement is a valid and enforceable contract between Union

Home and Rosenberry.

        158.       Union Home performed its material obligations under the Rosenberry Agreement.

        159.       Rosenberry owed and continues to owe legal and contractual obligations to Union

Home pursuant to the Rosenberry Agreement.

        B.         Blain Rosenberry voluntarily resigns from Union Home to join their former
                   Regional Manager at a Direct Competitor.

        160.       Rosenberry voluntarily resigned from his employment with Union Home on

January 31, 2025.

        161.       Rosenberry resigned from his employment with Union Home prior to October 1,

2026.

        162.       Rosenberry did not repay the portion of the Rosenberry Bonus due to Union Home.

        163.       Rosenberry now works for American Pacific, a direct competitor to Union Home

and Craig Franczak’s current employer.

        164.       On information and belief, Rosenberry is working for American Pacific in the same

or similar capacity and in the same geographic area that he worked for Union Home, in violation

of the Rosenberry Agreement’s limited non-compete provision. This breach has and will continue



                                                  26
         Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 27 of 41. PageID #: 27




to cause harm to Union Home’s legitimate business interests, including its goodwill and

confidential information, in an amount in excess of $75,000.

       165.    Paragraph 16 of the Rosenberry Agreement that Rosenberry voluntarily entered

into provides that Rosenberry would be responsible for Union Home’s reasonable attorneys’ fees

incurred in conjunction with a successful suit to enforce the Rosenberry Agreement. (Id. at 4, ¶ 16.)

       166.    Union Home has been required to retain the services of its undersigned counsel for

the purposes of protecting its interests under the Rosenberry Agreement and has incurred and will

continue to incur attorney fees in an amount yet to be determined as a result of Rosenberry’s breach

of the Rosenberry Agreement’s limited non-compete provision and failure to properly repay the

Rosenberry Bonus.

George Tabora

       A.      George Tabora’s employment and contractual obligations to Union Home.

       167.    Union Home hired George Tabora on or about September 25, 2023.

       168.    In conjunction with Tabora’s employment as a Loan Officer, he entered an

employee agreement with Union Home on or about September 25, 2023 (the “Tabora

Agreement”). A true and accurate copy of the Tabora Agreement is attached as Exhibit I.

       169.    As a Loan Officer, Tabora’s job duties included building a referral network through

marketing and self-sourcing business to generate and originate loans.

       170.    Tabora worked as part of a team led by former Union Home Regional Manager

Craig Franczak. (See Exhibit B, Organizational Chart.)

       171.    Tabora acquired confidential, proprietary, and trade secret information regarding,

among other things, Union Home’s customers, prospective customers, and referral sources, as well

as Union Home’s sales and marketing strategies, lending practices, and risk tolerances.




                                                 27
          Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 28 of 41. PageID #: 28




        172.        Tabora was a trusted employee of Union Home, who was given access to the

goodwill Union Home has developed with its customers, prospective customers, and referral

sources, as well as Union Home’s confidential and trade secret information, including confidential

information about Union Home’s customers, prospective customers, and referral sources.

        173.        In the Tabora Agreement, Tabora acknowledged that:




(Ex. I at 1, ¶ 2.).

        174.        With respect to confidential information, Tabora agreed as follows:




(Id. at 2, ¶ 11.)

        175.        Tabora agreed to the following limited non-competition provision:




                                                    28
          Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 29 of 41. PageID #: 29




(Id. at 2, ¶ 6.)

        176.       The Tabora Agreement also provides that if Tabora violates any of the restrictive

covenants in the agreement, the term of all covenants is automatically extended for a period of one

year after either (a) Tabora ceases the violation or (b) a court order is entered enforcing the

covenant. (Id. at 3, ¶ 13.)

        177.       When Tabora executed the Tabora Agreement, he accepted a one-time conditional

signing bonus and a guarantee against commissions, combined totaling $26,000 (collectively, the

“Tabora Bonus”). (Id. at 1, ¶ 3.) The Bonus was conditional in the sense that if Tabora did not

remain employed with Union Home for two years after September 25, 2023, he would be required

to repay a substantial portion of the Tabora Bonus. (Id. at 1, ¶ 4.)

        178.       The Tabora Agreement further provides a vesting schedule and a provision

requiring repayment of the unearned portion of the Bonus in the event Tabora did not remain

employed with Union Home for two years:




                                                  29
          Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 30 of 41. PageID #: 30




(Id. at 2, ¶ 4(b).)

        179.     The Tabora Agreement is a valid and enforceable contract between Union Home

and Tabora.

        180.     Union Home performed its material obligations under the Tabora Agreement.

        181.     Tabora owed and continues to owe legal and contractual obligations to Union Home

pursuant to the Tabora Agreement.

        B.       George Tabora voluntarily resigns from Union Home to join their former
                 Regional Manager at a Direct Competitor.

        182.     Tabora voluntarily resigned from his employment with Union Home on January 9,

2025.

        183.     Tabora resigned from Union Home prior to September 25, 2025.

        184.     Tabora did not repay the portion of the Tabora Bonus due to Union Home.

        185.     Tabora now works for American Pacific, a direct competitor to Union Home and

Craig Franczak’s current employer.

        186.     On information and belief, Tabora is working for American Pacific in the same or

similar capacity and in the same geographic area that he worked for Union Home, in violation of

the Tabora Agreement’s limited non-compete provision. This breach has and will continue to

cause harm to Union Home’s legitimate business interests, including its goodwill and confidential

information, in an amount in excess of $75,000.

        187.     Paragraph 18 of the Tabora Agreement that Tabora voluntarily entered into

provides that Tabora would be responsible for Union Home’s reasonable attorneys’ fees incurred

in conjunction with a successful suit to enforce the Tabora Agreement. (Id. at 3, ¶ 18.)

        188.     Union Home has been required to retain the services of its undersigned counsel for

the purposes of protecting its interests under the Tabora Agreement and has incurred and will



                                                 30
          Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 31 of 41. PageID #: 31




continue to incur attorney fees in an amount yet to be determined as a result of Tabora’s breach of

the Tabora Agreement’s limited non-compete provision and failure to properly repay the Tabora

Bonus.

Robert Webb

         A.     Robert Webb’s employment and contractual obligations to Union Home.

         189.   Union Home hired Robert Webb on or about November 8, 2023.

         190.   In conjunction with Rosenberry’s employment as a Branch Manager, he entered an

employee agreement with Union Home on or about November 8, 2023 (the “Webb Agreement”).

A true and accurate copy of the Webb Agreement is attached as Exhibit J.

         191.   As a Branch Manager, Webb’s job duties included building a referral network

through marketing and self-sourcing business to generate and originate loans. In addition, Webb

was responsible for hiring, training, and directing the retail sales team to achieve growth and

production goals while operating within Union Home’s specific policies and procedures.

         192.   Webb acquired confidential, proprietary, and trade secret information regarding,

among other things, Union Home’s customers, prospective customers, and referral sources, as well

as Union Home’s sales and marketing strategies, lending practices, and risk tolerances.

         193.   Webb was a trusted employee of Union Home, who was given access to the

goodwill Union Home has developed with its customers, prospective customers, and referral

sources, as well as Union Home’s confidential and trade secret information, including confidential

information about Union Home’s customers, prospective customers, and referral sources.

         194.   As a Branch Manager, Webb also had access to confidential information regarding

the other loan officers in his branch and the customers and prospects they were serving or pursuing

and the referral sources upon which they relied.




                                                31
          Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 32 of 41. PageID #: 32




        195.        In the Webb Agreement, Webb acknowledged that:




(Ex. J at 1, ¶ 2.).

        196.        With respect to confidential information, Webb agreed as follows:




(Id. at 2, ¶ 10.)

        197.        Webb agreed to the following limited non-competition provision:




(Id. at 2, ¶ 6.)




                                                   32
          Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 33 of 41. PageID #: 33




        198.        The Webb Agreement also provides that if Webb violates any of the restrictive

covenants in the agreement, the term of all covenants is automatically extended for a period of one

year after either (a) Webb ceases the violation or (b) a court order is entered enforcing the covenant.

(Id. at 3, ¶ 12.)

        199.        When Webb executed the Webb Agreement, he accepted a one-time conditional

signing bonus and a guarantee plus commissions, combined totaling $140,000 (collectively, the

“Webb Bonus”). (Id. at 1, ¶ 3.) The Bonus was conditional in the sense that if Webb did not remain

employed with Union Home for two years after November 8, 2023, he would be required to repay

a substantial portion of the Webb Bonus. (Id. at 1, ¶ 4.)

        200.        The Webb Agreement further provides a vesting schedule and a provision requiring

repayment of the unearned portion of the Bonus in the event Webb did not remain employed with

Union Home for two years:




(Id. at 2, ¶ 4(b).)

        201.        The Webb Agreement is a valid and enforceable contract between Union Home and

Webb.

        202.        Union Home performed its material obligations under the Webb Agreement.

        203.        Webb owed and continues to owe legal and contractual obligations to Union Home

pursuant to the Webb Agreement.

        B.          Robert Webb voluntarily resigns from Union Home to join the other
                    Defendants at a Direct Competitor.




                                                   33
          Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 34 of 41. PageID #: 34




         204.   Webb voluntarily resigned from his employment with Union Home on January 31,

2025.

         205.   Webb resigned from Union Home prior to November 8, 2025.

         206.   Webb did not repay the portion of the Webb Bonus due to Union Home.

         207.   Webb now works for American Pacific, a direct competitor to Union Home and the

current employer of the other Defendants.

         208.   On information and belief, Webb is working for American Pacific in the same or

similar capacity and in the same geographic area that he worked for Union Home, in violation of

the Webb Agreement’s limited non-compete provision. This breach has and will continue to cause

harm to Union Home’s legitimate business interests, including its goodwill and confidential

information, in an amount in excess of $75,000.

         209.   Paragraph 17 of the Webb Agreement that Webb voluntarily entered into provides

that Webb would be responsible for Union Home’s reasonable attorneys’ fees incurred in

conjunction with a successful suit to enforce the Webb Agreement. (Id. at 3, ¶ 17.)

         210.   Union Home has been required to retain the services of its undersigned counsel for

the purposes of protecting its interests under the Webb Agreement and has incurred and will

continue to incur attorney fees in an amount yet to be determined as a result of Webb’s breach of

the Webb Agreement’s limited non-compete provision and failure to properly repay the Webb

Bonus.

Union Home has not received repayment of the unearned portion of the Bonuses.

         211.   Pursuant to their respective employee agreements, Defendants Luu, Rosenberry,

Tabora, and Webb ended their employment with Union Home before their Bonus vested and owe

Union Home a portion of their respective Bonus as follows:




                                                34
        Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 35 of 41. PageID #: 35




                         Defendant             Amount of Bonus
                                               owed to Union Home
                         Bobby Luu             $36,872.90
                         Blain Rosenberry      $22,178.79
                         George Tabora         $7,300.90
                         Robert Webb           $43,291.83

       212.   None of the Defendants have repaid Union Home their unearned Bonus.

                                        COUNT I
                           Breach of Contract, Non-Competition
                                     (All Defendants)

       213.   Paragraphs 1–212 are incorporated herein by reference as if fully restated herein.

       214.   The Ballew Agreement prohibits Ballew from engaging in certain competition with

Union Home until April 30, 2025.

       215.   The Berryman Agreement prohibits Berryman from engaging in certain

competition with Union Home until November 30, 2025.

       216.   The Gonzales Agreement prohibits Gonzales from engaging in certain competition

with Union Home until December 31, 2025.

       217.   The Gonzalez Agreement prohibits Gonzalez from engaging in certain competition

with Union Home until December 31, 2025.

       218.   The Lichwick Agreement prohibits Lichwick from engaging in certain competition

with Union Home until April 30, 2025.

       219.   The Luu Agreement prohibits Luu from engaging in certain competition with Union

Home until October 2, 2026.

       220.   The Rosenberry Agreement prohibits Rosenberry from engaging in certain

competition with Union Home until September 30, 2026.

       221.   The Tabora Agreement prohibits Tabora from engaging in certain competition with

Union Home until September 25, 2025.


                                              35
         Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 36 of 41. PageID #: 36




       222.    The Webb Agreement prohibits Webb from engaging in certain competition with

Union Home until November 8, 2025.

       223.    The Defendants’ direct or indirect competition with Union Home, through their

employment with American Pacific, breached their contractual obligations to Union Home as

stated in each of their respective employee agreements with Union Home.

       224.    The Defendants breach of their respective Agreement’s non-competition covenant

has and will continue to cause Union Home irreparable injury, loss, and damage.

       225.    As a result of the Defendants’ breach, Union Home is entitled to an injunction, the

recovery of damages, and its legal fees and costs, and all other relief deemed just and proper.

                                       COUNT II
                   Breach of Contractual Duty to Repay Unearned Bonus
                    (Defendants Luu, Rosenberry, Tabora, and Webb)

       226.    Paragraphs 1-225 are incorporated herein by reference as if fully restated herein.

       227.    Defendants Luu, Rosenberry, Tabora, and Webb did not remain employed by

Union Home for the requisite amount of time for their Bonus to fully vest:


      Defendant              Date required to remain           Date of termination of
                             employed with Union Home          employment with Union
                             to retain entire bonus            Home
      Bobby Luu              December 2, 2026                  February 3, 2025
      Blain Rosenberry       October 1, 2026                   January 31, 2025
      George Tabora          September 25, 2025                January 9, 2025
      Robert Webb            November 8, 2025                  January 31, 2025

       228.    Defendants Luu, Rosenberry, Tabora, and Webb have not repaid to Union Home

the portion of the Bonus owed to Union Home pursuant to their respective employee agreements.

       229.    Defendant Luu’s, Rosenberry’s, Tabora’s, and Webb’s breach of their repayment

obligations pursuant to the Agreements has caused Union Home financial harm.




                                                36
         Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 37 of 41. PageID #: 37




       230.      Union Home seeks damages for Defendant Luu’s, Rosenberry’s, Tabora’s, and

Webb’s failure to repay the Bonus in the following amounts, reasonable attorney’s fees incurred

in conjunction with the enforcement of the Agreement, and any other relief just and proper in the

circumstances.

                            Defendant              Amount of Bonus
                                                   owed to Union Home
                            Bobby Luu              $36,872.90
                            Blain Rosenberry       $22,178.79
                            George Tabora          $7,300.90
                            Robert Webb            $43,291.83

                                         COUNT III
                                     Unjust Enrichment
                       (Defendants Luu, Rosenberry, Tabora, and Webb)

       231.      Paragraphs 1-230 are incorporated herein by reference as if fully restated herein.

       232.      Pursuant to their respective employee agreements, Defendants Luu, Rosenberry,

Tabora, and Webb received contingent bonuses as follows:

                            Defendant                  Amount of Bonus
                            Bobby Luu                  $60,000
                            Blain Rosenberry           $35,000
                            George Tabora              $26,000
                            Robert Webb                $140,000

       233.      Defendants Luu, Rosenberry, Tabora, and Webb separately agreed with Union

Home that a significant portion of their respective Bonus was to be repaid if the Defendant did not

remain employed by Union Home for the period required in their employee agreement.

       234.      Defendants Luu, Rosenberry, Tabora, and Webb did not remain employed by

Union Home for the requisite amount of time for their Bonus to fully vest:


      Defendant                Date required to remain          Date of termination of
                               employed with Union Home         employment with Union
                               to retain entire bonus           Home
      Bobby Luu                December 2, 2026                 February 3, 2025


                                                  37
          Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 38 of 41. PageID #: 38




       Blain Rosenberry      October 1, 2026                  January 31, 2025
       George Tabora         September 25, 2025               January 9, 2025
       Robert Webb           November 8, 2025                 January 31, 2025

        235.    Defendants Luu, Rosenberry, Tabora, and Webb have not repaid to Union Home

the unearned portion of their respective Bonus owed to Union Home in the following amounts:


                           Defendant            Amount of Bonus
                                                owed to Union Home
                          Bobby Luu             $36,872.90
                          Blain Rosenberry      $22,178.79
                          George Tabora         $7,300.90
                          Robert Webb           $43,291.83

        236.    Defendants Luu, Rosenberry, Tabora, and Webb have been unjustly enriched by

Union Home’s payment of their respective Bonus because they have not earned the full amount

yet they have retained the full amount.

        237.    Union Home has suffered financial harm by Defendant Luu’s, Rosenberry’s,

Tabora’s, and Webb’s unjust enrichment.

        238.    Union Home seeks damages for Defendant Luu’s, Rosenberry’s, Tabora’s, and

Webb’s failure to repay the Bonus due, and any other relief just and proper in the circumstances.

                                     PRAYER FOR RELIEF

        WHEREFORE, Union Home respectfully requests that the Court grant the following relief

in its favor:

        1.      Issue a preliminary and then permanent injunction against the Defendants and all

those in active concert or participation with them requiring specific performance of the terms and

conditions of the Defendant’s respective employee agreements:

                a.     As a direct and proximate result of the Defendants’ conduct, Union Home

        has suffered, and will continue to suffer, irreparable harm in the loss of business



                                               38
 Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 39 of 41. PageID #: 39




opportunities as well as harm to its goodwill and confidential information in an amount

that cannot be fully, completely, and adequately remedied at law.

       b.      The Defendants have and continue to willfully violate their employee

agreements through acts which include but are not limited to using or disclosing Union

Home’s confidential, proprietary, or trade secret information.

       c.      Without injunctive relief against the Defendants and all those in active

concert or participation with them, they will continue to disclose Union Home’s

confidential information, thereby causing Union Home immediate and irreparable harm. In

contrast, no harm will accrue to the Defendants by entry of injunctive relief because they

never had the right to violate their obligations to Union Home.

       d.      Injunctive relief is appropriate because protection and maintenance of

Union Home’s confidential, proprietary, and trade secret information is a vital and

legitimate business concern. In the absence of injunctive relief, it is highly unlikely that

Union Home will have the ability to precisely calculate the extent of the harm caused by

the Defendants’ actions.

       e.      In their employee agreements, the Defendants acknowledged and agreed

that a remedy at law for any breach or threatened breach of the provisions of the agreement

would be inadequate, thereby warranting issuance of injunctive relief.

       f.      The public interest will not be harmed if an injunction is granted.

       g.      Given the Defendants’ willful and deliberate violations of his obligations,

any bond required to be posted by Union Home should be de minimis.




                                        39
        Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 40 of 41. PageID #: 40




       2.     Enter judgment in favor of Union Home and against Defendants Luu, Rosenberry,

Tabora, and Webb for violating their employee agreements and order them to repay Union Home

the portion of their respective Bonus owed to Union Home;

       3.     Enter judgment in favor of Union Home and against the Defendants on all counts

in an amount to be determined at trial and order the Defendants to pay Union Home’s reasonable

attorneys’ fees as required by the employee agreements;

       4.     Enter judgment in favor of Union Home and against the Defendants on all counts

in an amount to be determined at trial and order the Defendants to pay damages to Union Home,

including, but not limited to, compensatory and punitive damages, costs, and interest as provided

for by statute and common law; and

       5.     Grant all other relief the Court deems just and proper in the circumstances.




                                               40
        Case: 1:25-cv-00318 Doc #: 1 Filed: 02/17/25 41 of 41. PageID #: 41




Dated: February 17, 2025                     Respectfully submitted,

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                                        41
